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11
   Attorneys for Plaintiffs,
12 Michael Reid and Dave Vacarro
13
14                         IN THE UNITED STATES DISTRICT COURT
15                            FOR THE DISTRICT OF ARIZONA
16
17
   Michael Reid and Dave Vacarro, on            Case No.: 2:12-cv-02661-ROS
18 behalf of himself and all others similarly
19 situated,
                                                FIRST AMENDED CLASS ACTION
20                   Plaintiff,                 COMPLAINT
21
           vs.
22                                              JURY TRIAL DEMANDED
23 I.C. System, Inc.,
24                   Defendant.
25
26
27
28
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 1
 2
            Plaintiff, Michael Reid and Dave Vacarro, by and through his undersigned
 3
 4 counsel, pleading on his own behalf and on behalf of all others similarly situated,
 5 states as follows:
 6
                                        INTRODUCTION
 7
 8          1.     Plaintiff, Michael Reid (“Reid”) and Dave Vacarro (“Vacarro” jointly
 9 referred to as “Plaintiffs”), bring this class action for damages resulting from the
10
   illegal actions of I.C. System, Inc. (“I.C.” or “Defendant”). Defendant negligently,
11
12 knowingly, and/or willfully placed automated calls to Plaintiff’s cellular phone in
13
     violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the
14
     “TCPA”).
15
16                               JURISDICTION AND VENUE
17          2.     This Court has original jurisdiction over Plaintiffs’ TCPA claims. Mims
18
     v. Arrow Fin. Serv., LLC, 132 S.Ct. 740 (2012).
19
20          3.     Jurisdiction in this District is proper pursuant to 28 U.S.C. § 1332(d)(2),
21
     as Plaintiff seeks up to $1,500.00 in damages for each violation of the TCPA, which
22
23 when aggregated among a proposed class numbering more than a thousand members,
24 exceeds the $5,000,000.00 threshold for federal court jurisdiction. Plaintiffs also
25
     allege a national class which will result in at least one class member residing in a
26
27   different state.
28          4.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) & (c),
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 1 because Reid resides within the District of Arizona, a substantial portion of the events
 2
   or omissions giving rise to the claim occurred in this District, and Defendant regularly
 3
 4 conducts business in this District.
 5                                          PARTIES
 6
           5.     Reid is, and at all times mentioned herein was, an adult individual
 7
 8 residing in Mesa, Arizona.
 9         6.     Vacarro is, and at all times mentioned herein was, an adult individual
10
     residing in the State of California.
11
12         7.     I.C. is, and at all times mentioned herein was, a Minnesota business
13
     entity headquartered in St. Paul, Minnesota.
14
                THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
15
16         8.     In 1991, Congress enacted the TCPA in response to a growing number of
17
     consumer complaints regarding certain telemarketing practices.
18
19         9.     The TCPA regulates, among other things, the use of automated telephone

20 dialing systems.
21
          10. 47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system
22
23 (“ATDS”) as equipment having the capacity –
24                (A) to store or produce telephone numbers to be called,
25                using a random or sequential number generator; and
26
                  (B)    to dial such numbers.
27

28

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 1          11.     Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an ATDS
 2
     or an artificial or prerecorded voice to a cellular phone without prior express consent
 3
 4 by the person being called, unless the call is for emergency purposes.
 5          12.     According to findings by the Federal Communications Commission
 6
     (“FCC”), such calls are prohibited because automated or prerecorded telephone calls
 7
 8 are a greater nuisance and invasion of privacy than live solicitation calls. The FCC
 9
     also recognized that wireless customers are charged for incoming calls. 1
10
11          13.     On January 4, 2008, the FCC released a Declaratory Ruling wherein it

12 confirmed that autodialed and prerecorded calls to a wireless number by a creditor, or
13
     on behalf of a creditor, are permitted only if the calls are made with the “prior express
14
                                 2
15 consent” of the called party.
16                           ALLEGATIONS APPLICABLE TO REID
17
            14.     Upon information and belief, Defendant employs an ATDS which meets
18
19 the definition set forth in 47 U.S.C. § 227(a)(1).
20          15.     Beginning in or around October 2012, Defendant has repeatedly contacted
21
     Reid on Reid’s cellular telephone using an ATDS.
22
23          16.     Despite Reid’s request that Defendant cease making automated calls to his
24 cellular phone, Defendant continues to place automated calls to Reid.
25
26
     1
       Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-
27   278, Report and Order, 18 FCC Rcd 14014 (2003).
     2
       In the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, 23
28
     F.C.C.R. 559, 23 FCC Rcd 559, 43 Communications Reg. (P&F) 877, 2008 WL 65485 (F.C.C.) (2008).
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 1         17.    The telephone number that Defendant used to contact Reid was and is
 2
     assigned to a cellular telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).
 3
 4         18.    Pursuant to the contract with his cellular service provider, Reid is charged
 5 for incoming calls made to his cellular telephone.
 6
          19. Defendant did not have prior express consent to place automated calls to
 7
 8 Reid on his cellular telephone.
 9
           20.    Defendant’s calls to Reid’s cellular telephone were not for “emergency
10
11 purposes.”
12         21.    Pursuant to the TCPA and the FCC’s January 2008 Declaratory Ruling, the
13
     burden is on Defendant to demonstrate that it had prior express consent to call Reid’s
14
15 cellular phone using an ATDS .
16                     ALLEGATIONS APPLICABLE TO VACARRO
17
           22.    Upon information and belief, Defendant employs an ATDS which meets
18
19 the definition set forth in 47 U.S.C. § 227(a)(1).
20         23.    Beginning in or around August 2012, Defendant has repeatedly contacted
21
     Vacarro on Vacarro’s cellular telephone using an ATDS.
22
23         24.    At no time did Vacarro provide Vacarro’s cellular phone number to
24 Defendant through any medium.
25
        25. At no time did Vacarro ever enter in a business relationship with
26
27   Defendant.
28

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 1         26.      Defendant obtained Vacarro’s contact information through unknown
 2
     means.
 3
 4         27.      The telephone number that Defendant used to contact Vacarro was and is
 5 assigned to a cellular telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).
 6
         28. Pursuant to the contract with his cellular service provider, Vacarro is
 7
 8 charged for incoming calls made to his cellular telephone.
 9
           29.      Defendant did not have prior express consent to place automated calls to
10
11 Vacarro on his cellular telephone.
12         30.      Defendant’s calls to Vacarro’s cellular telephone were not for “emergency
13
     purposes.”
14
15         31.      To date, Vacarro has received approximately 2 calls from Defendant where
16 Defendant utilizes an “artificial or prerecorded voice” in conjunction with an ATDS.
17
        32. Pursuant to the TCPA and the FCC’s January 2008 Declaratory Ruling, the
18
19 burden is on Defendant to demonstrate that it had prior express consent to call Vacarro’s
20
     cellular phone using an ATDS .
21
                                CLASS ACTION ALLEGATIONS
22
     A. The Class
23
           33.      Plaintiffs bring this case as a class action pursuant to Fed. R. Civ. P. 23
24
25 on behalf of himself and all others similarly situated.
26
           34.      Plaintiffs’ proposed Class is as follows, subject to amendment as
27

28
     appropriate:

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 1         Class Definition. All persons within the United States who received
 2         one or more non-emergency telephone calls from I.C. to a cellular
           telephone through the use of an ATDS.
 3
           35.    Excluded from the Class are all officers, directors, and employees of
 4
 5 Defendant, together with those individuals’ immediate family members, and their
 6
     respective legal representatives, heirs, successors and assigns, the officers, directors
 7
 8 and employees of any parent, subsidiary or affiliate of Defendant, together with those
 9 individuals’ immediate family members, Counsel for Defendant and Class Counsel
10
   and their immediate family members, in addition to those whose claims are barred by
11
12 the statute of limitations.
13
     B. Numerosity
14
           36.    Upon information and belief, Defendant has placed automated calls to
15
16 cellular telephone numbers belonging to thousands of consumers throughout the
17
     United States without their prior express consent. The members of the Class,
18
     therefore, are believed to be so numerous that joinder of all members is impracticable.
19
20         37.    The exact number and identities of the Class members are unknown at
21
     this time and can only be ascertained through discovery. Identification of the Class
22
23 members is a matter capable of ministerial determination from Defendant’s call
24 records.
25
    C. Common Questions of Law and Fact
26
 27      38. There are common questions of law and fact raised in this Complaint

28   which predominate over any questions affecting only individual Class members.
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 1         39.    The following questions of law and fact common to the Class members
 2
     are ripe for determination:
 3
 4                a. Whether Defendant made non-emergency calls to Plaintiffs and Class
 5                   members’ cellular telephones using an ATDS;
 6
                  b. Whether Defendant can meet its burden of showing it obtained prior
 7
 8                   express consent to make each call;
 9
                  c. Whether Defendant’s conduct was knowing willful, and/or negligent;
10
11                d. Whether Defendant is liable for damages, and the amount of such

12                   damages; and
13
                  e. Whether Defendant should be enjoined from such conduct in the
14
15                   future.
16         40.    The common questions in this case are capable of having common
17
     answers. If Plaintiffs’ claim that Defendant routinely places automated calls to
18
19 telephone numbers assigned to cellular telephone services is accurate, then Plaintiffs
20
     and the Class members will have identical claims capable of being efficiently
21
     adjudicated and administered in this case.
22
23 D. Typicality
24
           41.    Plaintiffs’ claims are typical of the claims of the Class since each of the
25
26 claims arises from the same or a substantially similar automated telephone call.
27

28

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 1 E. Protecting the Interests of the Class Members
 2
        42. Plaintiffs will fairly and adequately represent Class interests.
 3
 4      43. All Class claims arise from the very course of conduct and specific

 5 activities complained of herein and require application of the same legal principles.
 6
          44. Plaintiffs have retained counsel experienced in litigating class actions
 7
 8 and consumer claims and who stands ready, willing, and able to represent the Class.
 9 F. Proceeding Via Class Action is Superior and Advisable
10
        45. A class action is superior to other available methods for the fair and
11
12 efficient adjudication of this controversy.
13
           46.    Absent a class action, most members of the Class would find the cost of
14
     litigating their claims to be prohibitive, and therefore would have no effective remedy
15
16 at law.
17
           47.    The members of the Class are generally unsophisticated individuals
18
19 whose rights will not be vindicated absent a class action.
20         48.    The class treatment of common questions of law and fact is also superior
21
     to multiple individual actions or piecemeal litigation in that it conserves the resources
22
23 of both the Court and the litigants, and promotes consistency and efficiency of
24 adjudication.
25
         49. Prosecution of separate actions could result in inconsistent or varying
26
27   adjudications with respect to individual Class members that would establish
28

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 1 incompatible standards of conduct for Defendant. Conversely, adjudications with
 2
   respect to individual Class members would be dispositive of the interest of all other
 3
 4 Class members.
 5         50.    The amount of money at issue is such that proceeding by way of a class
 6
     action is the only economical and sensible manner to vindicate the injuries sustained
 7
 8 by Plaintiff and the other members of the Class.
 9
                                          COUNT I
10            Negligent Violations of the Telephone Consumer Protection Act,
11                                 47 U.S.C. § 227, et seq.

12         51.    Plaintiffs repeat and reallege the above paragraphs of this Complaint and
13
     incorporates them herein by reference.
14
           52.    Defendant negligently placed multiple automated calls to cellular
15
16 numbers belonging to Plaintiffs and the other members of the Class without their prior
17
     express consent.
18
19         53.    Each of the aforementioned calls by Defendant constitutes a negligent

20 violation of the TCPA.
21
          54. As a result of Defendant’s negligent violations of the TCPA, Plaintiffs
22
23 and the Class are entitled to an award of $500.00 in statutory damages for each call in
24 violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).
25
          55. Additionally, Plaintiffs and the Class are entitled to and seek injunctive
26
27   relief prohibiting such conduct by Defendant in the future.
28

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 1                                    COUNT II
 2    Knowing and/or Willful Violations of the Telephone Consumer Protection Act,
                                47 U.S.C. § 227, et seq.
 3
           56.      Plaintiffs repeat and reallege the above paragraphs of this Complaint and
 4
 5 incorporates them herein by reference.
 6
           57.      Defendant knowingly and/or willfully placed multiple automated calls to
 7
 8 cellular numbers belonging to Plaintiffs and the other members of the Class without
 9 their prior express consent.
10
          58. Each of the aforementioned calls by Defendant constitutes a knowing
11
12 and/or willful violation of the TCPA.
13
           59.      As a result of Defendant’s knowing and/or willful violations of the
14
     TCPA, Plaintiffs and the Class are entitled to an award of treble damages up to
15
16 $1,500.00 for each call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B)
17
     and 47 U.S.C. § 227(b)(3)(C).
18
19         60.      Additionally, Plaintiffs and the Class are entitled to and seek injunctive

20 relief prohibiting such conduct by Defendant in the future.
21
                                 PRAYER FOR RELIEF
22
23        WHEREFORE, Plaintiffs pray that the Court grant Plaintiffs and the Class the

24 following relief against Defendant:
25
                 1. Injunctive relief prohibiting such violations of the TCPA by Defendant in
26
27                  the future;
28               2. Statutory damages of $500.00 for each and every call in violation of the
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 1              TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);
 2
             3. Treble damages of up to $1,500.00 for each and every call in violation of
 3
 4              the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);
 5           4. An award of attorneys’ fees and costs to counsel for Plaintiffs and the
 6
                Class; and
 7
 8           5. Such other relief as the Court deems just and proper.
 9
                   TRIAL BY JURY DEMANDED ON ALL COUNTS
10
11
     DATED: May 9, 2014                        LEMBERG & ASSOCIATES, LLC
12
13
14                                             By: /s/ Trinette G. Kent
15                                             Trinette G. Kent
16                                             Attorney for Plaintiff,
17                                             Michael Reid
18
19
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                               Certificate of Service

       I hereby certify that on May 9, 2014, a true and correct copy of the foregoing
First Amended Complaint was served electronically by the U.S. District Court
District of Arizona Document Filing System (ECF) and that the document is
available on the ECF system.




                                             By: /s/ Trinette G. Kent
                                             Trinette G. Kent
